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      Attorneys for Plaintiff and Counterdefendant   GOBAIN PERFORMANCE PLASTICS
13    PACIFIC COAST BUILDING PRODUCTS,               CORP.
      INC.
14
15                                    UNITED STATES DISTRICT COURT

16                                   NORTHERN DISTRICT OF CALIFORNIA

17                                          SAN JOSE DIVISION

18
19 PACIFIC COAST BUILDING PRODUCTS,                  Case No. 5:18-cv-00346
     INC.,
20                                                   JOINT CLAIM CONSTRUCTION
                        Plaintiff,                   AND PREHEARING STATEMENT
21                                                   PURSUANT TO PATENT L.R. 4.3
             v.
22
     CERTAINTEED GYPSUM, INC. and SAINT              Hon. Lucy H. Koh
23 GOBAIN PERFORMANCE PLASTICS
     CORP.,
24
                        Defendant.
25
26
27
28
     SMRH:487533779.1                                                                 CASE NO.: 5:18-CV-00346
                                                                    JOINT CLAIM CONSTRUCTION AND PREHEARING
                                                                        STATEMENT PURSUANT TO PATENT L.R. 4-3
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 1           Pursuant to the Court’s Case Management Order (Dkt. 48) and Patent Local Rule (“Patent

 2 L.R.”) 4-3, Plaintiff Pacific Coast Building Products, Inc. (“Plaintiff” or “Pacific Coast”) and
 3 Defendants/Counterclaimants CertainTeed Gypsum, Inc. (“CertainTeed”) and Saint-Gobain
 4 Performance Plastics Corp. (“Saint-Gobain”) (collectively, “Defendants”) submit the following
 5 Joint Claim Construction and Prehearing Statement in advance of the November 29, 2018 claim
 6 construction hearing.
 7 I.        Construction of Terms Agreed by the Parties (Patent L.R. 4-3(a))
 8           The parties have not agreed to the construction of any claim terms, and do not believe that
 9 any additional claim terms other than those listed below in Sec. II. need to be construed for the
10 jury. To the extent that the parties form a belief that additional terms should be construed or
11 explained for the benefit of the jury, they will seek to reach agreement regarding the meaning of
12 such terms.
13
     II.     Proposed Construction and Supporting Intrinsic and Extrinsic Evidence for
14
             Each Disputed Term (Patent L.R. 4-3(b))
15
16
       Patent /         Term Or       Plaintiff’s    Plaintiff’s         Defendants            Defendants’
17    Asserted           Phrase        Proposed      Evidence             Proposed              Evidence
      Claim(s)                       Construction                       Construction
18
      8,181,738         external    The functional FIG. 1; Col.         Plain and             ’738 patent at:
19    Claims 1          surface     surface of the 5, ll. 38-62         ordinary              Abstract;
        and 23                      material on the                     meaning               3:39-46;
20                                  outside of the                                            Claims 1, 23
21                                  laminated
                                    panel
22
      8,181,738         internal    The functional FIG. 1; Col.         Plain and             ’738 patent at:
23    Claims 1          surface     surface of the 5, ll. 38-62         ordinary              Abstract;
        and 23                      material on the                     meaning               3:39-46; 6:24-
24                                  inside of the                                             27; Claims 1,
25                                  laminated                                                 23
                                    panel
26    9,388,568         outer,      The face of the Abstract;       Plain and                 ’568 patent at:
27    Claim 21          paperclad   gypsum board Col. 2, ll. 50- ordinary                     3:11-25; 4:31-
                        surface     on the exterior 54; Col. 4, ll. meaning                   38; 5:38-41;
28
     SMRH:487533779.1                                  1                                     CASE NO.: 5:18-CV-00346
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                                                                               STATEMENT PURSUANT TO PATENT L.R. 4-3
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1      Patent /         Term Or      Plaintiff’s     Plaintiff’s      Defendants           Defendants’
       Asserted          Phrase      Proposed        Evidence          Proposed             Evidence
2      Claim(s)                    Construction                      Construction
3                                 of the            15-21; Col.                           6:3-6; 6:35-
                                  laminated         4, ll. 29-31                          38; 6:44-46;
4                                 structure                                               6:53-56;
                                                    Videos:                               Claim 21
5
                                                    “How to Cut
6                                                   and Hang                              ’568 patent
                                                    Drywall _                             file history at:
7
                                                    Beginners                             • 7/30/2013
8                                                   Guaranteed                            Reply to
                                                    Great                                 Office Action,
9                                                   Results”                              pp. 2, 15-16
10                                                  (PC004609);                           • 2/21/2014
                                                    “Complete                             Request for
11                                                  Drywall                               Continued
                                                    Installation                          Examination,
12
                                                    Guide Part 3                          pp. 2-4, 9-10
13                                                  Measuring                             • 7/15/2014
                                                    And Cutting                           Response to
14                                                  Techniques”                           Non-Final
15                                                  (PC-004607)                           Office Action,
                                                                                          pp. 15-19, 21-
16
                                                                                          26
17                                                                                        • 12/19/2014
                                                                                          Pre-Appeal
18                                                                                        Brief, pp. 1-5
19                                                                                        • 5/4/2015
                                                                                          Appeal Brief,
20                                                                                        pp. 2-11, 13-
21                                                                                        18
                                                                                          • 4/26/2016
22                                                                                        Notice of
23                                                                                        Allowance,
                                                                                          pp. 5-6
24    9,388,568         inner     The portion of    Abstract;        Plain and            See evidence
25    Claim 21          surface   the face of the   Col. 2, ll. 45   ordinary             cited above
                                  gypsum board      – 63; Col. 6,    meaning              for the claim
26                                in the interior   ll. 3-10; Col.                        term “outer,
                                  of the            6, ll. 34-59;                         paperclad
27                                                  FIG. 1; FIG.
                                  laminated                                               surface”
28                                structure that    2
     SMRH:487533779.1                                 2                                  CASE NO.: 5:18-CV-00346
                                                                       JOINT CLAIM CONSTRUCTION AND PREHEARING
                                                                           STATEMENT PURSUANT TO PATENT L.R. 4-3
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1      Patent /         Term Or         Plaintiff’s      Plaintiff’s      Defendants           Defendants’
       Asserted          Phrase         Proposed         Evidence          Proposed             Evidence
2      Claim(s)                       Construction                       Construction
3                                    when clad
                                     provides           Brochure
4                                    flexural           (attached as
                                     strength           Exhibit C
5
                                                        (Dkt. 1-1, pp.
6                                                       33-53) to the
                                                        Complaint
7                                                       (Dkt. 1)), see
8                                                       also CT-
                                                        000809 –
9                                                       CT000819
                                                        and CT-
10                                                      000822 –
11                                                      CT000833;

12                                                      PowerPoint
13                                                      presentation
                                                        (PC-004608)
14    9,388,568         a scored     The flexural       Claim           Indefinite            ’568 patent at:
15    Claim 21          flexural     strength of the    language;                             1:59-2:24;
                        strength     laminated          Col. 2, ll. 45                        2:45-62; 3:11-
16                      of the       panel after the    – 62; Col. 6,                         25; 3:47-52;
17                      laminated    outer, paper-      ll. 35-59;                            6:35-7:4;
                        structure    clad surface of    Col. 6, l. 60 –                       7:46-51; Figs.
18                      is about     one of the first   Col. 7, l. 4;                         3, 4; claim 21
                        22 pounds    and second         Col. 7, ll. 46-
19                      per ½ inch   gypsum             51                                    ’568 patent
20                      thickness    boards has                                               file history at:
                        of the       been scored is     Videos:                               • 7/15/2014
21                      structure    about 22           “How to Cut                           Response to
22                                   pounds per ½”      and Hang                              Non-Final
                                     thickness          Drywall _                             Office Action,
23                                                      Beginners                             pp. 16-17, 23,
24                                                      Guaranteed                            25-26
                                                        Great                                 • 5/4/2015
25                                                      Results”                              Appeal Brief,
                                                        (PC004609);                           pp. 8, 14-15,
26                                                      “Complete                             17-18
27                                                      Drywall                               Extrinsic
                                                        Installation                          Evidence:
28
     SMRH:487533779.1                                    3                                   CASE NO.: 5:18-CV-00346
                                                                           JOINT CLAIM CONSTRUCTION AND PREHEARING
                                                                               STATEMENT PURSUANT TO PATENT L.R. 4-3
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1      Patent /         Term Or       Plaintiff’s    Plaintiff’s      Defendants           Defendants’
       Asserted          Phrase       Proposed       Evidence          Proposed             Evidence
2      Claim(s)                      Construction                    Construction
3                                                   Guide Part 3                          • PA000378–
                                                    Measuring                             540
4                                                   And Cutting
                                                    Techniques”                           Declaration
5
                                                    (PC-004607);                          testimony of
6                                                                                         Dr. D. Paul
                                                    ASTM                                  Miller,
7                                                   standard (PC-                         attached as
8                                                   001375 – PC-                          Exhibit B to
                                                    001392);                              this Patent
9                                                                                         L.R. 4-3
                                                    Brochure                              filing.
10                                                  (attached as
11                                                  Exhibit C
                                                    (Dkt. 1-1, pp.
12                                                  33-53) to the
13                                                  Complaint
                                                    (Dkt. 1)), see
14                                                  also CT-
                                                    000809 –
15                                                  CT000819
16                                                  and CT-
                                                    000822 –
17                                                  CT000833;
18
                                                    Declaration
19                                                  testimony of
                                                    Mr. Matthew
20
                                                    Risinger,
21                                                  attached as
                                                    Exhibit A to
22                                                  this Patent
23                                                  L.R. 4-3
                                                    filing.
24    9,388,568         the scored   Plain and      See evidence     Indefinite           See evidence
25    Claim 21          flexural     ordinary       cited above                           cited above
                        strength     meaning        for the claim                         for the claim
26                      being the                   term “a                               term “a
                        flexural                    scored                                scored
27
                        strength                    flexural                              flexural
28                      of the                      strength of                           strength of the
     SMRH:487533779.1                                4                                   CASE NO.: 5:18-CV-00346
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                                                                           STATEMENT PURSUANT TO PATENT L.R. 4-3
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 1     Patent /         Term Or       Plaintiff’s    Plaintiff’s      Defendants           Defendants’
       Asserted          Phrase       Proposed       Evidence          Proposed             Evidence
 2     Claim(s)                      Construction                    Construction
 3                      laminated                   the laminated                         laminated
                        structure                   structure is                          structure is
 4                      after the                   about 22                              about 22
                        outer,                      pounds per ½                          pounds per ½
 5
                        paper-clad                  inch                                  inch thickness
 6                      surface of                  thickness of                          of the
                        one of the                  the structure”                        structure”
 7                      first and
 8                      second
                        gypsum
 9                      boards has
                        been
10                      scored
11
12 III.      Identification of Terms Which are Most Significant to the Resolution of the

13           Case (Patent L.R. 4-3(c))

14           The parties agree that the six disputed claim terms are the most significant to the

15 resolution of the case.
16        The parties believe that if the Court finds that the two “flexural strength” terms

17 from the ‘568 Patent are indefinite, then those terms would be claim dispositive for the
18 ‘568 Patent. To the extent the Court finds that the two terms are not indefinite and
19 provides a construction, then those terms would not be claim dispositive for the ‘568
20 Patent.
21
     IV.     Anticipated Length of Time for the Claim Construction Hearing (Patent L.R.
22
             4-3(d))
23
             A.         Plaintiff
24
             Plaintiff believes 3 hours total for the claim construction hearing is appropriate
25
     broken into 1.5 hours per side. The 1.5 hours per side is sufficient to allow for any
26
     expected expert testimony.
27
             B.         Defendants
28
     SMRH:487533779.1                                5                                   CASE NO.: 5:18-CV-00346
                                                                       JOINT CLAIM CONSTRUCTION AND PREHEARING
                                                                           STATEMENT PURSUANT TO PATENT L.R. 4-3
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 1           Defendants believe 2 hours total for the claim construction hearing is appropriate,
 2 divided 1 hour per side, and Defendants do not believe there is a need for live or video
 3 expert testimony at the claim construction hearing.
 4
     V.      Potential Witnesses Who May Be Called at the Claim Construction Hearing
 5
             (Patent L.R. 4-3(e))
 6
             A.         Plaintiff
 7
             Plaintiff may offer expert testimony (either through declaration or at the claim
 8
     construction hearing live or through video) from Matt Risinger, who is an expert in
 9
     construction and drywall installation. Mr. Risinger may testify as to how certain claim
10
     limitations would be understood by one of ordinary skill in the art at the time of the
11
     invention in light of the patent’s specification, figures and claims, as well as the intrinsic
12
     and extrinsic evidence, as well as offering any opinion or testimony useful to or authorized
13
     by the Court in conducting the requisite claim construction.
14
             B.         Defendants
15
             Defendants do not believe that it is necessary to present live or video witness
16
     testimony at the Claim Construction Hearing, but would be happy to make available Dr. D.
17
     Paul Miller upon request by the Court. To the extent that Dr. Miller is called to testify at
18
     the Claim Construction Hearing, a summary of his testimony (including each opinion to be
19
     offered related to claim construction) is attached as Exhibit B to this Patent L.R. 4-3 filing.
20
21 VI.       Identification of Factual Findings Requested from the Court Related to Claim
22           Construction (Patent L.R. 4-3(f))
23           The parties do not request any factual findings related to claim construction from
24 the Court.
25
26 Dated: August 17, 2018                Respectfully submitted,
27
28
     SMRH:487533779.1                               6                                    CASE NO.: 5:18-CV-00346
                                                                       JOINT CLAIM CONSTRUCTION AND PREHEARING
                                                                           STATEMENT PURSUANT TO PATENT L.R. 4-3
         Case 5:18-cv-00346-LHK Document 75 Filed 08/17/18 Page 8 of 8



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 1    HAMPTON, LLP
 2
      /s/ Jason E. Mueller                                 /s/ Richard G. Frenkel
 3    Jason E. Mueller                                     Richard G. Frenkel
 4    Attorneys for Plaintiff and Counterdefendant         Attorneys for Defendants
      PACIFIC COAST BUILDING PRODUCTS,                     CERTAINTEED GYPSUM, INC. AND
 5                                                         SAINT-GOBAIN PERFORMANCE
      INC.
                                                           PLASTICS CORP.
 6
 7
 8                                             ATTESTATION
 9           Pursuant to Local Rule 5-1(i)(3) regarding signatures, I, Jason E. Mueller, attest that
10 concurrence in the filing of this document has been obtained from each of the other signatories, as
11 indicated by a “confirmed” signature (/S/) within the e-filed document. I declare under penalty of
12 perjury under the laws of the United States of America that the foregoing is true and correct.
13
14 Dated: August 17, 2018                                   /s/ Jason E. Mueller
                                                            Jason E. Mueller
15
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28
     SMRH:487533779.1                                  7                                     CASE NO.: 5:18-CV-00346
                                                                           JOINT CLAIM CONSTRUCTION AND PREHEARING
                                                                               STATEMENT PURSUANT TO PATENT L.R. 4-3
